             Case 1:18-cr-10251-ADB Document 33 Filed 02/28/19 Page 1 of 2



                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS
CRIMINAL No.
18-10251-ADB
                                      UNITED STATES OF AMERICA
                                                    v.
                                            BYRON CARDOZO
                                        INTERIM STATUS REPORT
                                            February 28, 2019
DEIN, M.J.
        An Interim Status Conference was held before this court on February 28, 2019 pursuant to the

provisions of Local Rule 116.5(b). Based on that Conference, this court enters the following report and

orders to wit:

    1. The parties are discussing whether the defendant will consent to the further review of his
       electronic devices, or if further warrants will be needed.

    2. Except for the results of additional searches of the defendant’s electronic devices, the
       government does not expect to produce additional discovery except in response to specific
       requests and in accordance with the Local Rules.

    3. The date for filing dispositive motions will be set at the next status conference.

    4. The government will produce its expert discovery 21 days prior to trial.

    5. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
       Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
       District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
       and Procedures for Implementing Them, Effective December 2008) that the defendant requires
       additional time for the preparation of an effective defense, including time for review of the
       evidence, preparation of motions, and consideration of alternatives concerning how best to
       proceed with this matter, and that the interests of justice outweighs the best interests of the
       public and the defendant for a trial within seventy days of the return of an indictment.
       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
       of February 28, 2019 through March 20, 2019, that being the period between the expiration of
       the last order of excludable time and the next status conference.
        Based upon the prior orders of the court dated September 14, 2018, November 2, 2018, January
        23, 2019 and the order entered contemporaneously herewith, at the time of the Final Status
        Conference on March 20, 2019, there will be zero (0) days of non-excludable time under the
        Speedy Trial Act and seventy (70) days will remain under the Speedy Trial Act in which this case
        must be tried.
       Case 1:18-cr-10251-ADB Document 33 Filed 02/28/19 Page 2 of 2



6. A Final Status Conference has been scheduled for March 20, 2019 at 10:00 a.m. Counsel for the
   respective parties shall file a Joint Memorandum before the close of business no less than
   THREE business days prior to that Status Conference.
7. It is too early to determine if a trial will be necessary.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




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